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 Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                  §
 CHARITABLE DAF FUND, L.P., AND CLO
                                                  §
 HOLDCO LTD.,
                                                  §
                                                  §
                                   Plaintiff,
                                                  § Case No. 3:21-cv-00842-B
                                                  §
 vs.
                                                  §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                  §
 HIGHLAND HCF ADVISOR, LTD., AND
                                                  §
 HIGHLAND CLO FUNDING, LTD.
                                                  §
                                                  §
                                   Defendants.

           DEFENDANT HIGHLAND CAPITAL MANAGEMENT, L.P.’S
    CERTIFICATE OF INTERESTED PERSONS PURSUANT TO FED. R. CIV. P. 7.1



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         Highland Capital Management, L.P. (the “Defendant”), a defendant in the above-

referenced matter, pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR

81.1(a)(4)(D), and LR 81.2 of the Local Civil Rules for the Northern District of Texas, hereby

submits the following Certificate of Interested Persons (the “CIP”):

For a nongovernmental corporate party, list the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock:

None/Not Applicable

Provide a complete list of all persons, associations of persons, firms, partnerships,
corporations, guarantors, insurers, affiliates, parent or subsidiary corporations, or other
legal entities that are financially interested in the outcome of the case:

        1.       Charitable DAF Fund, L.P., a Plaintiff in the above-referenced matter.

        2.       CLO Holdco Ltd., a Plaintiff in the above-referenced matter.

        3.       Highland Capital Management, L.P., a Defendant in the above-referenced matter.

        4.       Highland HCF Advisor, Ltd., a Defendant in the above-referenced matter.

        5.       Highland CLO Funding, Ltd., a Defendant in the above-referenced matter.

Defendant reserves the right to amend or supplement this CIP as and if necessary or appropriate.




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 Dated: July 23, 2021.                     PACHULSKI STANG ZIEHL & JONES LLP

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                                           -and-

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                                CERTIFICATE OF SERVICE

I hereby certify that, on July 23, 2021, a true and correct copy of the foregoing CIP was served
electronically via the Court’s CM/ECF system upon the parties registered to receive electronic
notice in this proceeding.

                                                     /s/ Zachery Z. Annable
                                                         Zachery Z. Annable




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